                    Case 2:10-cr-00443-TLN Document 51 Filed 03/21/11 Page 1 of 3


          JOHN R. MANNING (SBN 220874)
      1   ATTORNEY AT LAW
      2
          1111 H Street, # 204
          Sacramento, CA. 95814
      3   (916) 444-3994
          Fax (916) 447-0931
      4

      5
          Attorney for Defendant
          VI A. LE
      6
                                  IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF CALIFORNIA
      7

      8

      9   UNITED STATES OF AMERICA,                       )       No. CR-S-10-443 JAM
                                                          )
                                                          )
     10          Plaintiff,                               )       STIPULATION AND
     11
                                                          )       [PROPOSED ORDER] CONTINUING
          v.                                              )       STATUS CONFERENCE
                                                          )
     12
          VI A. LE, et al.,                               )
                                                          )
     13
                                                          )       Judge: Honorable John A. Mendez
                 Defendants.                              )
     14
                                                          )
                                                          )
     15
                                                          )
     16

     17          IT IS HEREBY stipulated between the United States of America through its undersigned

     18   counsel, Todd D. Leras, Assistant United States Attorney, together with counsel for defendant Vi

     19   A. Le, John R. Manning, Esq., counsel for defendant Tony Sek Mun, Douglas J. Beevers, Esq.,

     20   and counsel for defendant Dong Ping Huang, Olaf W. Hedberg, Esq., that the status conference

     21   presently set for March 22, 2011 be continued to May 10, 2011, at 9:30 a.m., thus vacating the

     22   presently set status conference.

     23          Defense counsel requires additional time to review the voluminous discovery and

     24   perform investigation. Therefore, counsel for the parties stipulate and agree that the interests of

     25   justice served by granting this continuance outweigh the best interests of the defendants and the

     26   public in a speedy trial. 18 U.S.C. 3161(h)(7)(A) (continuity of counsel/ reasonable time for

     27   effective preparation) and Local Code T4, and agree to exclude time from the date of the filing of

     28   the order until the date of the status conference, May 10, 2011.



                                                              1


PDF created with pdfFactory trial version www.pdffactory.com
                   Case 2:10-cr-00443-TLN Document 51 Filed 03/21/11 Page 2 of 3



      1

      2   IT IS SO STIPULATED.
      3
          Dated: March 18, 2011                                 /s/ John R. Manning
      4                                                        JOHN R. MANNING
                                                               Attorney for Defendant
      5                                                        Vi A. Le
      6
          Dated: March 18, 2011                                /s/ Douglas J. Beevers
      7                                                        DOUGLAS J. BEEVERS
                                                               Attorney for Defendant
      8                                                        Tony Sek Mun
      9
          Dated: March 18, 2011                                /s/ Olaf W. Hedberg
     10                                                        OLAF W. HEDBERG
                                                               Attorney for Defendant
     11                                                        Dong Ping Huang
     12

     13
          Dated: March 18, 2011                                Benjamin B. Wagner
     14
                                                               United States Attorney
     15
                                                       by:     /s/ Todd D. Leras
     16                                                        TODD D. LERAS
                                                               Assistant U.S. Attorney
     17

     18

     19

     20

     21

     22

     23

     24

     25

     26

     27

     28




                                                   2


PDF created with pdfFactory trial version www.pdffactory.com
                    Case 2:10-cr-00443-TLN Document 51 Filed 03/21/11 Page 3 of 3



      1   JOHN R. MANNING (SBN 220874)
          ATTORNEY AT LAW
      2
          1111 H Street, # 204
      3   Sacramento, CA. 95814
          (916) 444-3994
      4   Fax (916) 447-0931
      5
          Attorney for Defendant
      6
          VI A. LE

      7
                                 IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
      8

      9

     10   UNITED STATES OF AMERICA,                      ) No. CR-S-10-0443 JAM
                                                         )
                                                         )
     11          Plaintiff,                              ) ORDER TO
     12
                                                         ) CONTINUE STATUS CONFERNCE
          v.                                             )
                                                         )
     13
          VI A. LE, et al.,                              )
     14
                                                         )
                                                         )
                 Defendants.                             )
     15
                                                         )
                                                         )
     16
                                                         )
     17

     18

     19
                 GOOD CAUSE APPEARING, it is hereby ordered that the March 22, 2011 status

     20
          conference be continued to May 10, 2011 at 9:30 a.m. I find that the ends of justice warrant an

     21
          exclusion of time and that the defendant’s need for continuity of counsel and reasonable time for

     22
          effective preparation exceeds the public interest in a trial within 70 days. THEREFORE IT IS

     23
          FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. 3161(h)(7)(A) and Local

     24
          Code T4 from the date of this order to May 10, 2011.

     25
          IT IS SO ORDERED.
          Dated: 3/21/2011                                    /s/ John A. Mendez____________
     26                                                       John A. Mendez
                                                              United States District Court Judge
     27

     28




                                                          3


PDF created with pdfFactory trial version www.pdffactory.com
